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Order Form (01/2005)


                              United States District Court, Northern District of Illinois

     Name of Assigned Judge           David H. Coar           Sitting Judge if Other
        or Magistrate Judge                                    than Assigned Judge

   CASE NUMBER                         07 C 6890                          DATE                       2/5/2009
            CASE                                      Huntair, Inc vs. ClimateCraft, Inc
            TITLE

  DOCKET ENTRY TEXT

  Pursuant to the stipulation of dismissal [178] , this action is dismissed without prejudice, in its entirety,
  pursuant to a settlement agreement. Each party to bear its fees and costs. Any and all pending deadlines,
  motions or scheduling dates are stricken and terminated. Civil case terminated.
  /s/David H. Coar
  David H. Coar, U.S. District Judge


                                                                                                             Docketing to mail notices.




                                                                                       Courtroom Deputy                PAMF
                                                                                                 Initials:




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